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CLERK US DISTRICT COURT
DISTRICT OF NEVADA
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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
eke
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) 2:20-mj-00563-BNW
)
JOSE MANUEL ARMENTA-LIERA, )
)
Defendant. ) ORDER

)

 

IT IS HEREBY ORDERED that the Department of Homeland Security, Immigration and

Customs Enforcement (DHS/ICE) shall provide to counsel for the above-named defendant a

complete copy of every document and any other items contained in the defendant’s Alien (“A”) file

within seven (7) days of the date of this Order, unless the Government files a formal objection or

other appropriate motion within six (6) days of the date of this Order. The defendant’s “A” number

is A200 709 540.

IT IS FURTHER ORDERED that the U.S. Attorney=s Office shall serve a copy of this

Order on the Officer in charge, Department of Homeland Security, Immigration and Customs

Enforcement (DHS/ICE), Las Vegas, Nevada.
DATED this 14" day of July, 2020.

 

 

 
